Motion to Remove

THE UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW MEXICO
In re: )
FRED DALE VAN WINKLE, ( ncetlat 14-)1743-19
Debtor AX Ne / S- l OUT]
Cause No D-4245-CV-2010-1054
Division 1}

TAMMY SPRAGUE, personal representitive Judge James Waylon Counts

of the estate of FRED DALE VAN WINKLE, FILED
at sks o'clock 2 M
and
JUN 18 2019
BRIAN VAN WINKLE, defendant-in-intervention United States dankruptcy Court

Vv Albuquerque, New Mexico

JOHN H. WILLIAMS, and
ELLEN B. WILLIAMS,
BELLEVIEW VALLEY LAND CO, INC,

MOTION REQUEST FOR RECOGNIZING BRIAN VAN WINKLE 'S RIGHT OF INTERVENTION
AS ESTATE PERSONAL REPRESENTITIVE and, similtanious
REQUEST FOR REMOVAL OF A STATE COURT RULING ACTION.

The Debtors Estate of FRED VAN WINKLE, respectfully moves that the court grant an order-
removing Tammy Sprague personal representitive, and recognizing Defendant-In-Intervention
BRIAN VAN WINKLE's as the Estate representitive of FRED VAN WINKLE and, upon doing so,
the Debtors Estate of FRED VAN WINKLE, respectfully moves that the court grant an order

Of Removal to The twelfth judicial Didtrict court, county of Otero, State of New Mexico's ruling
Cause No D-1215-CV-2010-1054, Division Il.

Upon Appointment as Personal Representitive, Brian Van Winkle request that this court

wave normal Motion and Court proceedures and allow This court to act in its full capacity to
remove the state ruling as soon as possible. If a removal request motion is filed and the trustee
does not have the funds in the Account, the judge can defer the fee unti funds become avaliable.
The Alter Ego Role of this Court has been usurped and it's role as Alter Ego

of the Estate of Fred Van Winkle has been applied to rulings of District State Court

upsetting the equitable balance between Debtor and Creditor as has been determined

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Motion to Remove
by this court. .
Wherefore, Brian Van Winkle respectfully request the court allow his request to be appointed
as personal representitive of the Estate of Fred Van Winkle and, to Issue an order conceming
State Actions of District State Court for Ramoval and Allow this court to act in its full capacity as
Altar Ego of the Estate of Fred Van Winkle and in doing so allow this court to proceed under it's
val of the State court action.

Wink! at any fees be waved until the Estate account Is reopen and
hs 6 -/4- 209
n Winkle, deféndant-in-Intervention

P.O. Box 2595

Ruidoso, N.M. 88355

email Brianvw62@gmall.com
ph( 575)-430-4370

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Defendent In intervention

Brian Van Winkle (Brian VW) is requesting to exercise his intervention of right. In doing so he seeks
to have his sister Tammy Sprague removed as personal representitive of the estate of Fred

Van Winkle (deceased) and replaced by himself as personal representitive.

( Brian VW could not verify how Tammy Sprague was Soley appointed as estate representitive )

The Intervention of right arises when the intervenor, the person who seeks to become
& party to an existing law sult, can satisfactorily show that his or her interest is not
adequately represented by the present parties, that the interest relates to the
subject of the action , and that the disposition of the action might in some way
Impair his or her ability to protect such Interest.
This Court is Familiar with this d4yr long titigation concerning the Estate of Fred Van Winkle.
Brian VW request that judge Thuma review his opinions, the BAP election opinions, and the State
court ruling concerning this estate and its back ground,
The state court under Judge Counts has just recently allowed a Discharged debt set forth by this
Banckruptcy court to be allowed In state court , in doing so , the state court has upset the balance
provided by this court between Debtor and Creditor. This has aiso put Redemption funds
deposited with the state court at risk . This ruling allows perpetual lien reattachment
if left as Is. As defendent in intervention, there are common issues shared between Brian V.W, and
the existing parties involved, in particular, an eight acre parca! with Brian VWs homestead and
shop. This acerage Is a portion of the total acerage up for redemption and tied to the outcome of
the complete estate closure. The issue of the Redemption process and allowing it to go forth as

- suled by this court, the State ruling concerning lien reattachment and the closing (2047) of the

* — Estate of Frad Van Winkle before the Estate Itself has been closed, are grounds for Brian VW's
request to be granted and to allow hirn to exercise his intervention of right. (There are still
unsettled issue for this estate concerning the Condo jn lincoln county and Sanctions set by this
court.)

Brian Van Winkle is not atiemnting to inject new causes of action into a pending law suit,

Brian VW contacted, met with lenders in California and secured a loan for Fred Van Winkles'
Estate litigation and for Redemption funds. The entire foan amount was deposited in an Estate
Account for Fred Van Winkle. NM law requires an estate account to remain open until the entire
estate is closed.

Brian YW secured this loan by providing his home for collateral.

The total loan amount of $147,000.00 was deposited into the estate account of Fred Yan Winkle.
The Redemption funds on deposit with the state caurt fs in the amount of approx $78,000.00.

The balance of 78,000.00 - 147,000.00 = $69,000.00.

Therefore $69,000.00 was left over from Redemption deposit

requirements and available for dispersment thru the Estate account for administration ot

assosiated cost such as legal fees, Taxes , Etc. and hald secure for use in a specified account
concerning estate needs until! the time of the estates Finale closure.

An accurate balance of the Estate account can only be realized through the reconciling of the bank
statements. However, the estate account has been closed and transparent access to the account has

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Defendent In intervention
of redemption under protection of this court,

The Bap ruled the way they did because the redemption issue was stayed In state
court...Williams was not pursuing collections in personam, Since Judge Counts has ruled in
favor of lien reattachment he is now persuing in personam and has altered the equitable
balance between debtor and creditor and made this a “core Issue" eligible for review by
the B.C. .

Sanctions are called for in light of his relentless attempts in pursuit to collect a discharged
debt through under handed legal methods .

Despite the amount of time, money and attention dedicated to litigation in this case,

the estate helrs continue this fight for their Redemption and homestead rights in pursuit of

justice inspite of The hardships over the past 11 yrs and will continue as long as

Mr. Wilftams continues to relentlessly pursue and attack the Estate.

this he has done by hidding behind and weaponizing an obscure law that appears to be in

favor of lien perpetuality regardless of the envolvment of an original morgagor or not.

If allowed to prevail in this light as presented to the courts as justice, Tryranny evolves in our
judicial system. The BAP noted that Mr. Willlams’ continued litigation methods resembled |
what Is called ° scorched earth” . The Brief Mr. Williams provided requesting Judge Counts i
To allow the Discharged liens to re attach is self incriminating as to his real intentions to
persue the estate in Persanam vr. In Rem. Sanctions are Called for to prevent future litigators from

following the same or similar path under relative circumstances.

Thank You, Defendant In Intervention.
Brian Van Winkle , Monday June The 9th, 2013

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12th JUDICIAL DISTRICT COURT
‘TWELFTH JUDICIAL DISTRICT COURT apap ny
COUNTY OF OTERO KATINA WATSON
STATE OF NEW MEXICO CLERK OF THE COURT

Sven Michael Sears

BELLEVIEW VALLEY LAND CO.,
A New Mexico corporation, and JOHN a Re.
H. WILLIAMS, and ELLEN B. WILLIAMS,

™ (aa Na- 13-11 443-/4-

husband and wife,
C pene {F 104]

‘

Plaintiffs,
y. Cause No, D-1215-CV-2010-1054
Division U
TAMMY SPRAUGE, Personal Representative
of the Estate of FRED VAN WINKLE, Deceased,
Defendants.
And

BRIAN VAN WINKLE and JUDITH A.
VAN WINKLE, husband and wife,

Defendants-in-Intervention.

MINUTE ORDER
THIS MATTER came before the Court on March 11, 2019 on Plaintiffs’ Motion for
Summary Judginent. Plaintiffs appeared through counsel, Kenneth Dugan. Defendants appeared
through counsel, Kyle Moberly. The Court having heard arguments of counsel and being otherwise
fully advised in the premises, finds the following matcrial facts ure undisputed:
I. The Court conducted a trial on the merits involving the sume parties (Fred Van
Winkle and Brian Van Winkle) and real property involved hercin on August 13, 2010, in Cause No.

D-1215-CV-200800076.

2 Plaintiffs obtained judgement against Fred Van Winkie in the amount 0f$243,944,31.

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April 3, 2018
. PUSLISH Blaing F- Bates
UNITED STATES BANKER UPTC. APPELLATE PANEL
OF THE TENTH CIRCUIT
IN RE FRED DALE VAN WINKLE, BAP No. NM-17-031
BAP No. NM-17-032
Debtor. BAP No. NM-17-033
TAMMY SPRAGUE, personal Bankr. No. 33-11743
representative of the estate of Fred Dale Chapter 7

Van Winkle,
Plaintilf ~ Appellee,
v. OPINION

JOHN WILLIAMS, ELLEN B.
WILLIAMS, and BELLEVIEW
VALLEY LAND CO., INC.,

Detendant ~ Appellants.

Appeal from the United States Bankruptcy Court
for the District of New Mexico

W.T. Martin, Jr. (Jennic D. Behles, Albuquerquc, New Mexico with him on the
brief} of Martin, Dugan & Martin, Carlsbad, New Mexico, Attorneys for
Defendant - Appeliants.

R. “Trey” Arvizu, [11 Las Cruces, New Mexico, Attorney for Plaintiff - Appellee.

Before KARLIN, Chief Judge, NUGENT, and MOSTER, Bankruptcy Judges.

KARLIN. Chief Judge
John Wiliiams, Ellen Wilitams. and Belleview Valley Land Co.. Inc. (the

“Appellanis”) appeal three bankruptcy court rulings: (1) the Order Denying

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property redeemed by the original debtor.
To rebut these holdings, Sprague relies on § 524(a)(2), which “operates us
a an injunction against the commencement or continuation of an action, the
employment of process, or an act, to collect, recover or offset any such
[discharged] debt as a personal liability of the debtor.””’ Sprague argued, and the
bankruptcy court concluded, that when the Debtor received his discharge, that
discharge intervened to eliminate any part of the judgment that was not satisfied
by the first sale of the property. The bankruptcy court noted that it would not
make policy sense to allow the repeated foreclosure of property postredemption,
and it ultimately held that once the Debtor redeemed the property from the salc, it
became “after-acquired” property. As such, Appellants coufd not then seek to
attach the Judgment Licn to the redecmed property since it was not property
owned on the date of the bankruptcy petition. From that reasoning, the bankruptcy
court held that Appellants’ actions to pursue collection of its Deficiency
Judgment against that “after-acquired” property violated the discharge injunction.
These conclusions misapply the New Mexico Supreme Court’s holdings in
Construction Engineering and Les File Drywall that redeemed real property “once
aguin becomes part of the mortgagor's real estate subject to prior judgment
licns.”"! In New Mexico, judgment liens attach to real property acquired by a
judgment debrox{after the date a transcript of judgment is filed)including property
lost at foreclosure but reacquired through redemption.” However, nothing in the
New Mexico Supreme Court's interpretation of the law indicates property
*

redeemed is newly acquired property—rather, the property “again becomes part of
_ —— eee

~ —,

0 -1EU.S.C. § §24(a)(2).
” Turner, 868 P.2d at 653 (citing Constr. Eng'g, 572 P.2d at 1248) (emphasis

" added)
. 2 124 Opinion at 10, iar Appellants’ App. at 943. See also Const. Eng'g, 572 P.2d
r at .

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[a debtor's] real estate." While this statutory scheme, which allows repeated
foreclosures, appears to coaflict with New Mexico's stated public policy behind

redemptions,” it is nonetheless the law of New Mexico.

The Special Master's Deed indicates title to the Otero Land passed to
Appellants on July 8, 2014," Sprague timely filed a petition to redeem on April

20, 2015.*° Appellants objected to Sprague’s redemption in the state court and

A Simultaneously filed another action to foreclose the Deficiency Judgment. While se

\ Appellants were admittedly procedurally premature in seeking to re-foreclose 3 a
e their Deficiency Judgment, as they still held title to the Orero Land because the E z
state court redemption proceeding was stayed pending resolution of the - $

bankruptcy issues, their complaint did not seck.collection of the discharged. debt =
in-personam.” As a result, the filing of the postredemption foreclosure action was p

_ not in-violation of § 524(a)(2)(because, under New Mexico law, a deficiency E

fm

Af. judgment may become a postredemption lien on the real.property once properly

transcribed jSo long as Appellants were not seeking to hold the Debtor personally

liable for the deticiency judgment, and were instead merely pursuing any

Noo (T1S, remaining value in the non-exempt real estate, their actions did not-constitute a

“Const. Eng'g, 572 P.2d at $248.
“ See Chase Manhattan Bank y. Candelaria, 90 P.3d 985, 987 (N.M. 2004)
(“One of the purposes of the redemption statute is to give the property owner . . .
a reasonable opportunity to redeem the property") citing W. Bank. of Las Cruces
v. Malooly, 895 P.2d 205, 271 (N.M. Ct. App. 1995); see also Morig. Elec.
Registration Sys,, Inc. v. Moutoy'u, 186 P.3d 256, 258 (N.M. Ct. App. 2008)
(quoting HSBC Bank USA y. Fenton, 125 P.3d 644, 646 (N.M. Ce. App. 2005)
Superseded dy statute, N.M. Stat. Ann. § 39-5-18 (2007)) (The commonly
stated purposes of statutory rcdemplion are to encourage full value’bidding at
foreclosure sales and to protect mortgagors.”).

4 Appellants” App. at 450.

do

Opinion at 5, in Appellants’ App. at 9338.

” Id. at 6, in Appellants’ App. at 939.

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.. discharge violation.”
Nothing in the record suggests Appellants sought i personam relief, and in

fact, the Deficiency J udgment expressly indicated it was a lien on the Debtor's

real estate and “no deficiency judgment [was] granted on an in personam basis
_ against the Estate of Fred Van Winkle." We.thus find that Appellants did not, in

trying co enforce the Deficiency Judgment against the Otero Land, commit any

“act. to collect, recover or offset any such [discharged] debt as a personal

liability:of the debtor.” under § 524(a)(2). We therefore REVERSE the

bankruptcy court’s holding of a discharge violation. Bur NOW 4 i, WO a a) re iT
4. Violation of the Stipulated Order = Pevauan.

Although we hold that Appellants did not violate the discharge injunction.
we now review whether thcir actions taken in the Condo foreclosure violated the
terins of the Stipulated Order. This question is quickly answered by a careful
review of two documents: the Stipulated Order and the complaint Appellants filed
in state court to foreclose Williams’ First mortgage and Appellants’ Judgment
Lien on the Condo.”
The parties agreed by the terms of the Stipulated Order that the Judgment

Lien was “partially avoided and attache[dJ only to the extent of any value over
and above the stipulated value of the [Condo] ($100,000) less the payoff of the
First Mortgage less the Debtor's allowed Homestead Exemption ($60,000).”" In

* Turner, 868 P.2d at 653; Const. Engg. 572 P.2d at 1248; see ulso Dewsnup
y. Timm, 502'U.S. 410, 417-18 (1992) (explaining lien rights pass through
bankruptcy unaffected).

* See Opinion at 5, in Appellants’ App. at 938 (quoting the Amended Order
dppraving ; pecial Master’ 5 Report & Granting Deficiency Judgment at 3, in
Appellants” App. at 448)

~ First Amended Complaint for Jud; idgnicrt for Debt and Money Due an
Promissory Note, to Foreclose on Real Estate Mortgage and to Foreclose
Judgment Lien, in Appellants’ App. at 1521.

st

Stipulated Order at 2, in Appellants’ App. at 12!. The Order also provided
(continued...)
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